            Case 3:20-cv-05857-MJP Document 1-1 Filed 08/22/20 Page 1 of 5




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ůĞĐƚƌŽŶŝĐdƌĂŶƐĂĐƚŝŽŶŽŶƐƵůƚĂŶƚƐ>>͘



:ƵƌŝƐĚŝĐƚŝŽŶƐƵďũĞĐƚͲŵĂƚƚĞƌ͗ũƵƌŝƐĚŝĐƚŝŽŶŽĨƚŚĞĨĞĚĞƌĂůĐŽƵƌƚƐĂƌĞĚŝǀĞƌƐŝƚǇũƵƌŝƐĚŝĐƚŝŽŶĂŶĚĨĞĚĞƌĂů
ƋƵĞƐƚŝŽŶũƵƌŝƐĚŝĐƚŝŽŶ͘ŝǀĞƌƐŝƚǇũƵƌŝƐĚŝĐƚŝŽŶŐĞŶĞƌĂůůǇƉĞƌŵŝƚƐŝŶĚŝǀŝĚƵĂůƐƚŽďƌŝŶŐĐůĂŝŵƐŝŶĨĞĚĞƌĂůĐŽƵƌƚ
ǁŚĞƌĞƚŚĞĐůĂŝŵĞǆĐĞĞĚƐΨϳϱ͕ϬϬϬĂŶĚƚŚĞƉĂƌƚŝĞƐĂƌĞĐŝƚŝǌĞŶƐŽĨĚŝĨĨĞƌĞŶƚƐƚĂƚĞƐ͘^ĞĞϮϴh͘^͘͘ΑϭϯϯϮ



ůĞĐƚƌŽŶŝĐdƌĂŶƐĂĐƚŝŽŶŽŶƐƵůƚĂŶƚƐ͕>>ĨŽƌŵĂůůǇŬŶŽǁŶĂƐůĞĐƚƌŽŶŝĐdƌĂŶƐĂĐƚŝŽŶŽŶƐƵůƚĂŶƚƐd

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Ψϭϰ͕ϵϬϲ͕ϱϱϴ͘ϴϲϱ͘ϲϭĨŽƌǁĂŐĞƐĂŶĚďĞŶĞĨŝƚƐŶŽƚĞƉĂŝĚĨŽƌĂŶĞŵƉůŽǇĞĞƵŶĚĞƌƉƌŽƚĞĐƚŝǀĞĂĐƚŝǀŝƚǇϲƵ͘Ɛ͘Đ͘
ϭϭϰϮĂŶĚϭϭϯϭŝŶĞǆĞĐƵƚŝǀĞďƌĂŶĐŚŚŝƌĞĚĂƚƵǁŝĐƵŐƵƐƚϮϵ͕ϮϬϭϯ͘:ŽŚŶƐŽŶǁĂƐƚƌĞĂƚĞĚĚŝĨĨĞƌĞŶƚůǇĨƌŽŵ
ƐƚĂƚƵĞƐĂŶĚůĂǁƐ͘ƌĞŶĚĂD:ŽŚŶƐŽŶĨŝůĞĚĂKŚĂƌŐĞĂŐĂŝŶƐƚůĞĐƚƌŽŶŝĐdƌĂŶƐĂĐƚŝŽŶŽŶƐƵůƚĂŶƚƐη
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Equal Pay Act of 1963 (Pub. L. 88-38) (EPA), as amended, as it appears in volume
29 of the United States Code, at section 206(d). The EPA, which is part of the Fair
Labor Standards Act of 1938, as amended (FLSA), and which is administered and
enforced by the EEOC, prohibits sex-based wage discrimination between men and
women in the same establishment who perform jobs that require substantially equal
skill, effort and responsibility under similar working conditions. Cross references to
the EPA as enacted appear in italics following the section heading. Additional
provisions of the Equal Pay Act of 1963, as amended, are included as they appear
in volume 29 of the United States Code
The agency was non-compliance and did not disclose a contract with all parties
called a collective bargaining agreement. Brenda M Johnson alleges the business
and it’s administration was Neligient and cause her harm .
/DERU'LVSXWH&LYLO$FWLRQ                     RI     ƌĞŶĚĂD:ŽŚŶƐŽŶ

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                Case 3:20-cv-05857-MJP Document 1-1 Filed 08/22/20 Page 2 of 5




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dŚĞĚĞĨĞŶĚĂŶƚůĞĐƚƌŽŶŝĐdƌĂŶƐĂĐƚŝŽŶŽŶƐƵůƚĂŶƚƐ>>ŚĂǀĞďƌŽŬĞŶ:ŽŚŶƐŽŶĨŽƵƌƚĞĞŶƚŚĂŵĞŶĚŵĞŶƚ
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SHUVRQVERUQRUQDWXUDOL]HGLQWKH8QLWHG6WDWHV²LQFOXGLQJIRUPHUVODYHV²
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WKUHHDPHQGPHQWVSDVVHGGXULQJWKH5HFRQVWUXFWLRQHUDWRDEROLVKVODYHU\
DQGHVWDEOLVK)LQDOO\(OHFWURQLF7UDQVDFWLRQ&RQVXOWDQWV//&DQG
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                Case 3:20-cv-05857-MJP Document 1-1 Filed 08/22/20 Page 3 of 5




I Brenda M Johnson having taken an oath before a
competent tribunal, officer, or person, in any case in
which a law of the United States authorizes an oath to be
administered, that he will testify, declare, depose, or
certify truly, or that any written testimony, declaration,
deposition, or certificate by him subscribed, is true,
willfully and contrary to such oath states or subscribes
any material matter which he does not believe to be true.
18 U.S. Code §δ1621 (1) executed on August 22, 2020

3ODLQWLIILVUHTXHVWLQJDMXU\RIKHUSHHUV)HGUFLY

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                 Case 3:20-cv-05857-MJP Document 1-1 Filed 08/22/20 Page 4 of 5




I declare (or certify, verify, or state) under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct complaint ,
summons , Case list Executed on August 22, 2020 to
marie.hauer@wolterskluwer.com, Newcases.tacoma@wawd.uscourts.gov

    (Signature)
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